                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            CRIMINAL NO.: 3:04CR36

UNITED STATES OF AMERICA        )
                                )
           v.                   )                        ORDER
                                )
JOSEPH ERNEST FINATERI,         )
SAMUEL KINGSFIELD,              )
ALAN JAY STEIN,                 )
                                )
           Defendants.          )
________________________________)

        THIS matter is before the Court on the parties’ Joint Motion to Reconsider Request
for a Peremptory Setting.
        The Court is unable to provide a peremptory setting for the parties’ requested date
of March 5, 2007. The Court is however, able to give the current trial date, January 29,
2007, a peremptory setting. Therefore, trial will commence in this matter on January 29,
2007.
        For these reasons, the parties’ joint motion is granted in part and denied in part.
        IT IS, THEREFORE, ORDERED that the parties’ joint motion for a peremptory
setting is GRANTED.
        IT IS FURTHER ORDERED that the parties’ request for a peremptory setting of
March 5, 2007 is DENIED.
        IT IS FURTHER ORDERED that trial for this matter receive a peremptory setting for
January 29, 2007.
                                              Signed: January 9, 2007




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